           Case 4:20-cv-01176-CLM-NAD                                 Document 45            Filed 03/30/21                      Page 1 of 24                         FILED
                                                                                                                                                         2021 Mar-30 PM 02:05
                                                                                                                                                         U.S. DISTRICT COURT
                                                                                                                                                             N.D. OF ALABAMA
Pro Se !4 (Rev !2/16) Complaint for Violation of Civil Rights (Prisoner)



                                        UNITED STATES DISTRICT COURT
                                                                           for the



                                                                Ur~,; i ..-       Division
                                                                                                        I   •   ,   •   'r   ,    i • ~ ~ . -~ • , ) ; ; \



                                                                              )      Case No.     "{ :zo- c V•l/74' • Ak"K·HAAI
                                                                              )                    (to be filled in by the Clerk's Office)
 k.}r1tr4,44 /c,)J.>V lti_j,,,LH-g                                            )
                             Plaintiff(s)
(Write the full nan1e ofeach plaintiff who is filing this con1plaint.
                                                                              )
If the names ofall the plaintiffs cannot fit in the space above,              )
please write "see attached" in the space and attach an additional             )
page with the full list ofnames.)                                             )
                                  -v-                                         )
                                                                              )
                             Hi£ ,u.. rfl Sot.#lCcs, I.Jr., J
                                                                              )
                                                                              )
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                                                                              )
                                                                              )




                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                              (Prisoner Complaint)


                                                                           NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits ofa social security number; the year of an individual's
    birth; a minor's initials; and the last four digits ofa financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                                             Page I of II
            Case 4:20-cv-01176-CLM-NAD                                 Document 45                  Filed 03/30/21          Page 2 of 24


Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rights (Prisoner)


I.         The Parties to This Complaint

           A.         The Plaintiff(s)


                      Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number
                            Current Institution                             0/i;~r CL.1.;lf                       o~l'f~. Aa/c,·r,J
                            Address                                           /000              ....:;,,..,111,- L1t.4,.',f /ro,qd

                                                                                         City                       State             Zip Code


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (if known) and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. I
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer
                            Address
                                                                             BzBPJrutiH4H,                         Al.-
                                                                                         City                       State             Zip Code

                                                                            D Individual capacity              BC)fficial capacity


                      Defendant No. 2
                            Name
                            Job or Title (if known)                            Mk-- o.rcAt.-                   ./)oe rPB
                            Shield Number
                            Employer                                          kJ'°x.·    1
                                                                                          -   " ' t'f    i:l   Af-;"f £ r W ...::So 1-1 RC!. G :s I;.J c ,.
                            Address                                          ~-
                                                                            -,
                                                                               .....,v
                                                                                   IA     Pr~,  ,, . .
                                                                                             ~Mer,_,-,,.
                                                                                                                          "'       ..-        ~J,,., ..-or •
                                                                                                                         rA~.K ._,~\J,,_. f./lft>-:F,,.,.r

                                                                             B :r il;M.CNG UA,.,, AL ..J6- 2 'i 3
                                                                                         City                  1    State             Zip Code

                                                                            6ndividual capacity D Official capacity




                                                                                                                                             Page 2 of 11
            Case 4:20-cv-01176-CLM-NAD                                 Document 45           Filed 03/30/21    Page 3 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                      Defendant No. 3
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer
                            Address

                                                                                      City             State            Zip Code

                                                                            D Individual capacity D Official capacity
                      Defendant No. 4
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer
                            Address

                                                                                      City             State            Zip Code

                                                                            D Individual capacity D Official capacity
II.        Basis for Jurisdiction

           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau ofNarcotics. 403 US. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply):

                      D Federal officials (a Bivens claim)
                      D State or local officials (a§ 1983 claim)
           B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




           C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?




                                                                                                                                   Page3of 11
           Case 4:20-cv-01176-CLM-NAD                                  Document 45   Filed 03/30/21   Page 4 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)




           D.        Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages ifneeded.




III.      Prisoner Status

          Indicate whether you are a prisoner or other confined person as follows (check all that apply):
          D           Pretrial detainee

          D           Civilly committed detainee

          D           Immigration detainee

          D           Convicted and sentenced state prisoner

          D           Convicted and sentenced federal prisoner

          D           Other (explain)

N.       Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.          If the events giving rise to your claim arose outside an institution, describe where and when they arose.




          B.          Ifthe events giving rise to your claim arose in an institution, describe where and when they arose.




                                                                                                                        Page4of II
            Case 4:20-cv-01176-CLM-NAD                                 Document 45   Filed 03/30/21   Page 5 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



         C.          What date and approximate time did the events giving rise to your claim(s) occur?




         D.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)




V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




VI.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.




                                                                                                                        Page 5 of 11
            Case 4:20-cv-01176-CLM-NAD                                 Document 45   Filed 03/30/21     Page 6 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"). 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other correctional facility until such administrative remedies as are available are
         exhausted."

         Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have no.t
         exhausted your administrative remedies.


         A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                      D Yes
                     D No
                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




                                                                            •
          B.          Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                      D Yes
                      0No

                      ~notknow

          C.          Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                      cover some or all of your claims?

                      D Yes
                      D No
                      D Do not know
                      If yes, which claim(s)?




                                                                                                                           Page6of 11
           Case 4:20-cv-01176-CLM-NAD                                  Document 45      Filed 03/30/21       Page 7 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                      D Yes
                      0No
                      Ifno, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      D Yes
                      0No
         E.           lfyou did file a grievance:

                      1.    Where did you file the grievance?




                      2.    What did you claim in your grievance?




                      3.    What was the result, if any?




                            PL.4-M./Tlj.:p                          ,._/A.5   i7'-h::    y-1c_.T11t.-f   &'(.:.   /JeL1{3f<l7A<CE.
                           J.AJ)1Fr-~c:£               r() K.r;JuE:"r' .Dt,'S<::--1-~c
                      4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




                                                                                                                            Page7of 11
              Case 4:20-cv-01176-CLM-NAD                               Document 45         Filed 03/30/21       Page 8 of 24


Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rights (Prisoner)



         F.           If you did not file a grievance:

                      I.    Ifthere are any reasons why you did not file a grievance, state them here:




                     2.     If you did not file a grievance but you did inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




         G.           Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                            F,,,,.,, .L 'T'         fVI ..-'! ne-"l'l -"    '"'-'="-"'<L     t £'•   1   ~ :s   re>   AP o c     ot~f-:.c..• .... \. ::s
                      (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                      administrative remedies.)


VIII. Previous Lawsuits

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee ifthat prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28 U.S.C. § !915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

         D Yes
         0No
         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




                                                                                                                               Page 8 of II
           Case 4:20-cv-01176-CLM-NAD                                  Document 45   Filed 03/30/21     Page 9 of 24


Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)




         A.          Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                     action?

                     D Yes
                     ~o
         B.          If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                     more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)


                     2.     Court (iffederal court, name the district; if state court, name the county and State)



                     3.     Docket or index number



                      4.    Name of Judge assigned to your case



                      5.    Approximate date of filing lawsuit



                      6.    Is the case still pending?

                           0Yes

                           0No

                            If no, give the approximate date of disposition.


                      7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your favor? Was the case appealed?)




         C.           Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                      imprisonment?



                                                                                                                        Page 9 of I I
                     Case 4:20-cv-01176-CLM-NAD                                  Document 45   Filed 03/30/21    Page 10 of 24
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           Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                                0 Yes
                                0 No
                    D.          If your answer to C is yes, describe each lawsuit by answering questions I through 7 below. (If there is
                                more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                                 1.    Parties to the previous lawsuit
                                       Plaintiff(s)
                                       Defendant(s)

                                 2.    Court (iffederal court, name the district; ifstate court, name the county and State)




                                 3.    Docket or index number



                                 4.    Name of Judge assigned to your case



                                 5.    Approximate date of filing lawsuit



                                 6.    Is the case still pending?




                                       If no, give the approximate date of disposition

                                 7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                                       in your favor? Was the case appealed?)




                                                                                                                               PagelOofll
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               Case 4:20-cv-01176-CLM-NAD                                 Document 45   Filed 03/30/21     Page 11 of 24


    Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



    IX.      Certification and Closing

             Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
             and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
             unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
             nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
             evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
             opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
             requirements of Rule I I.



             A.           For Parties Without an Attorney

                          I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                          served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                          in the dismissal of my case.

                          Date of signing:


                          Signature of Plaintiff
                          Printed Name of Plaintiff
                          Prison Identification#
                          Prison Address


                                                                                City               State        Zip Code



             B.           For Attorneys

                          Date of signing:


                          Signature of Attorney
                          Print~d Name of Attorney
                          Bar Number
                          Name of Law Firm
                          Address


                                                                                City               State        Zip Code

                          Telephone Number
                          E-mail Address




                                                                                                                           Page II of II
     Case 4:20-cv-01176-CLM-NAD   Document 45   Filed 03/30/21         Page 12 of 24


                  UNITED ST'ATES DISTRICT COURT
                 NORTHERN DISTRICT OF LABA~A
                          MIDDLE DIV!SION


                                                           ZOZI MAR 30 /:l, !O: 48
                                                         ~-..     Ui        ;.... t-   cdlj;-~\T
                                                           t'i . OF /\L ,\BAM/\
WILLIAM T. WALKER,
   Plaintiff,

v.
                                                      Civil Action
                                                          No. : 4:20-
CQRIZON,LLC,                                               -ov-117 6-
t!XFORD HEALTH SOURCES,Ino.,                                    AKK,- HNJ
KAREN STONE,M.D.,
SCOTT BELL,M. O.,
MICHAEL BOROWICZ,o. o .,
RAHIM KASSAMALI,M . D.,
JEFFERSON DUNN,
LEON BOLLING,
    Defendants.




                          AMENDED COMPLAINT




     1. Plaintiff is a resident citaen of the state of Alabama , County
     of Shelby ..

     2. The Defendants had aotual knowledge of the plaintiff•s kidney
     disease , congestive heart condition and anemia. They knew about
     both the kidney disease, heart condition and anemia descx-ibed
     above and the resulting risk to plaintiff's safety. This risk
     was longstanding, pervasive, and apparent to any knowledgeable
     observer.

     3. As a result of the substantial risk of serious harm in the
     Alabama Department of Correction, plaintiff had suffered fro
     a heart attack because his kidneys are not being treated in
     accordanae with medieal protocol .


                                  (1)
Case 4:20-cv-01176-CLM-NAD   Document 45   Filed 03/30/21   Page 13 of 24



  4. Upon infor ation and .belief, offici ls at Alabama Department
  of Correction, Corizon,LLC .. , t~exford Health Sources,:tne .. , in
  2019,2020 and 2021 informed Defendant Karen Ston that the
  plaintiff was sufferin9 form an untreated kidney disease and
  and that if plaintiff could be treated by a special! ·t who oould
  provide th nee ssary shots to improve his kidn y functions
  that his over-all medical condition would impro•e ..
    These requests w s made by the pl intif f and denied by DOC
  officials- Defendants acte~ with d liber te indifference by
  en9aqin9 in a policy and custom of not treating inmates for
  kidney diseases prio.r to place them on (Oialysi ) •


  s .. By April, 2019 defendants had failed to take any steps towards
  treating the plaintiff's kidney disease. As a result of their
  deliberate tndif f erence , pla!ntif f was the victim of a heart
  at.tack 111 April, 2019.



  FAtLURE TO PROVIDE TREATMENT



  6. Plaintiff asserts that Defendants has denied hi medical
  treatment for his kidney disease because the ADOC medical staff
  is attempting to treat the plaintiff with kidney dialysis rather
  than providing him access to a kidney transplant and/or provide
  ( erythropol.e tin shots- )



  1. Plai.ntiff stat s that this decision is adversely affecting
  his long-term survival.


  8. Plaintiff kidney disease have went untreated for several
  years until h.e was near death and/or at risk of per anently
  losing h:ls kidney functions ..


  9., Plaintiff hereby object to the medical staff treating hi
  with kidney dialysis o.n the qrounds that delayinq treatment,     .
  i.e .• , kidney transplant or shots, puts the plaintiff at serious
  rtsk of losing his life bee us he has anemia and/or at s rious
  risk .o f permanently lostng his kidney functio.t ts.


  10. Plaintiff is not pres ntly on dialy is.



                               (2)
Case 4:20-cv-01176-CLM-NAD   Document 45    Filed 03/30/21   Page 14 of 24




 11,. PLa1nt1ff challenges the const:ltutlonaltt1 of the Alabaau1
 Depal'tatent of Correction• s <.n:gt\n traruJplant pol toy.. Simply stated
 on tnf oration &·t td bet tef" the AOOC do not provide organ           ·
 traruspl&.n:t:•, and.., ln tha event 1tdatntlf :f e*'n show he needs a
 tramiplant, requ:lJ:es him to demonstrate hi.a abtltty to p&f for
 the transplant proeedt1re before a f urlo·,u3b to:: th.at purpO$(!
 will ba authori<& d. Giv•n the .l\OOC' e ohl1qation. to provide
  ecU.eal care to pla!r~tiff , see
 Hl o.s.c. § 4042. denial of a transplant to t,be plaiatiff who
 tteeds ... but i:an p.ay fo.r ... a t.ra.nsplant ma.y r•ise eonatitu.t10Qa1
 concerns.


 Defendants dela.y in providing treat•ent



 12 .. Defend nt& acts. vi'th deliba:r:at$ indifference when they
 intentionally delay providing plaintiff with acce.s s to medical
 treatmer1t 1 kaowi.1'19 that he has a life... tbre teof.at oott:dtt1on
 c:»r an urgent medica.1 condt tlofi that would be e:xaaer:bated by
 delay,.


 13. :tmm$diate treatment to plaintlff "a kidney disease mi9nt
 have saved plaintiff's kidneys.


 14 .. Seve.:a,1 year• delay ln medical attant.i:on to platnti.f f'a.
 kidney 131.seaae was dell.berate indiffe"nce beeaus$ t:h•·r e was
 a kidney disease that. ~Gtltdredt in11aediate ucU.cal tr:-eatment.


 1 s. Pl inttff :lt in ;l'eat mental pa.in and his kidneys do Rot
 work pr<0perly because of the· diGe.ase to h.ts k,tdnara.




 16. Plaintiff W1ll1am Teddy Walk4tr 1$ currently an in ate at
 Saint Cla!z: Correctional Paoi.lit.y.

 11. Onder ~labama law, defen,,ant f.teff'erson OUnft 1$ the AOOC
 C:uiillnis ·:f.cmer and ie re11pons.tbl e for c()nditiona and oper:ation
  in th& ADOC,,,
 'D~tui'.'l is alao A final polioym ker: for the A.DOC. Ro l• s,u ed in
Case 4:20-cv-01176-CLM-NAD        Document 45   Filed 03/30/21     Page 15 of 24



 18. O f ndant   on ollin1~ 1 s int Clair W rd n .. SOlllng is
 ~espoasible for  up rvi inq s int. lair , ta.ff, aintaintng 1 . t
 safety and aercurity, and rea o~dind to in ~t s requ$sts. aollinq
 ua is v.ued in his imU.vtdual oapaoity.


  1t., o i ndant Cori~on, LLC, h ld th cant.tact · 1th th;e 1aba a
  Oepa::tant f Corr ct.ton to provi e l-t !\:lt. cn·n. rel ted ervicaa
  to Al ,     it111!at • Corizon, Lt..C, wa under cQntr ct with
  wlth tll ~1 b :1 oap.srtra nt of Cocr ctton o provid madic l
· eat'$ to i · te      t. OOC .


 2.0. Defendant: seott Bell, M.. o,., was prevloasly mptoyed by
 Corizon., t.tc .. , ane W$Xford u~sltb sourees, tno.~  l$ sued in
 his individual. c~pacity.

                                                                                        .·I
 2!. Oefendant  icnael aoro · iez, · .o., w a e            loyed by ' Corizon,
 Ltc., a~6 w ford Health Souro s , toe.
 a. is. ued in his it\dtvtduat capacity.

 22. Defendant Rahim ltasamal:t ., M.D. was -employed by •coriaon,
 r.t.e .. , and Wexf'crd Haeltb    ouroes, Inc.                                         ,.I'


 23 ... Defendant    r n Ston , . • o. is       n · - ployee      f •t: xford   ealth
  ources , Inc. Sb      Ls suad in          r indiv1 ual c p city.


 24 ,. Defsndan't Wexford Health source ,, Inc.. is uniter contra.et
 with ADOC t& provide medical eara to inmates t ooc.

 2s. A.t l.l ti as relevant:: to th ·vents de crtbed b retn,                    11
  ef d~nt have acted under color ot state 1 w. n f•ndant
 continu to ct undetl' color of tate law,.




26. Ori tt.pril 1 1 2019, t e pl int1ff was sent to                 int Cl ir
correctiott l P ctltty for dialyG1 •

27. On   ril 24,, 2020, tho pl 1nt1f            beoam    v · ry     i0k and was
taken to Saint Cl&ir I~firm ry.


                                      (4)
Case 4:20-cv-01176-CLM-NAD    Document 45   Filed 03/30/21      Page 16 of 24


26. Inmate Charles t?dward Carter ... 4,,I.,S .. f 230999, found the
plaintiff to   incoherent et te of ind and e r: Port d the
inctd nt of officer Mattis.


2.9. The pl ·intiff f lt 1 k     h    was h vin9        heart ,a t taak ..


30 ,. 1.'ne plaintiff wa.s 91va4'\ a (SIG), a blood presswr           e~eck
 t th- inf1rm~ry.

31. Ad eiston       a   ade by s int Cl ir offiotals to             end the
plaintiff to 8rook•4ood Hospital ..


3 • ~G plaintiff ~     tran port d to rookvood Hospit 1 by
a.nbulaoc • The par   di.ea gave the laintiff f 3) three nitro
tablet:s and (CJ four 80m9 •sprtn •

3l. W ila t Broo .wood os 1t:~d on J\pril s, 020, th    l intiff
infor d the doct·o r that ne had chest pain .nd ne passed (l)
tidney stones two weeks prier to his hO!Jpitaltrzation . S&&:
Sxhibit "A" at.t aned - ar,.>okwood a ptlst         dical c-e~ ter


34 . Allerqies and Advo:-sa    oaotionsi     aotrim
Exhibit " "1


35. Dtschar9e D1sgnosis: ·cat         chost pain
Es:h1bi t " '' I

36 . Plaintiff in.foi: ·d hia doator th t ht        cest pin •as du
to the druf (Bactrim)
Etchlbtt 'A )


l7. COVIO test was negtive. Bxhibit "l"J



  tt J. CKD 4: Foll.o iog and avoiding nophrotoxins. <.luld not
use Baotr1m 1n this patient and I have marked it as an el:ter;qy
9tveo bi   presenttn.q symptoms . " Pag     1 of   41




                                     (5)
Case 4:20-cv-01176-CLM-NAD    Document 45    Filed 03/30/21   Page 17 of 24




 1. Chest. paint P,l aninq for outpatient follow. card1o.1 oqy ha•
 sti;ned {J·f f and will r;stJm.e home medic tion.s at th:e tbne of
 discharge.




 40. Se• Exhibit "B"'     tt:aof'u.•d ... Jackson Hospital.
 M9d1oal :RGCf;)rds of Will.ta - Tedcly Walt1H" OOBt 10/3t/19it5



 41. · J.be metU.oal reeorda at 3ack•on Ros~1ta1 show that the
 plaic.rt;'.t ff had et ~t•t• III chronic k.i dney disease. ltxbiblt ..s" J


 42. Medte,a l records at Ja.ck..son h.os;:iital on Maroh J, 20Hh
1. Ac:ntte-on-ctu:•onio congestive heart failure.
2. Chronic tddnfty d·tse.euse.
 l . '\nernta.
 4 .. i!yper:terd.on.


 43. 1rb~ ~oetfl)rs •t 3ackson hoJti.ittal •lttu:ted th• pl•iatife on
 ltltr11:1ern>tJs dialysis fro-~ the WD. Exhibit "B"l


44 .. An ultrasound of plaint.J,tf•s kl<in~ys showed iuedica! renal
diaaaae. bh1bit "'3ttJ

4$. on March 5, 201g., the: ~lain.tiff was ifltervlfnl d: by: noctor
:Rober-t A. Avery for anemia .. See t:xbi!'lH: •en atttacl\ed ... Morttqamary
Cancer Can.terJ

 46. '?he platntiff had a blood transfusion 1\p:rtl.. Exhibit •1e·•1


41. •the pla.tnti.£f was aick in ~aron, dx C9P, CAD nd an$tt11a ..
he Wtt!I a<lad.tted- one month later., :tU.dney biopsy net pe;rf.o rmed.
See. Eexh:tb!t ~c•' ga9e o.~Al


48. · hi 1.a at the ~?ntqomery Canf.l!et'· Ceate:r, the plaint.if f and
Doctor Robort Avgry {U ·SOU$jiJ~.t'J my various problems •. The pla1nt1tf
informed Doctor avary abo\lt bis chronic ktmmv disease, heart
condition !!fid anemia.. ~hibit "e"J
                             (6)
Case 4:20-cv-01176-CLM-NAD   Document 45   Filed 03/30/21   Page
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49 . Doctor v_ry inf or ~ the pl intift th t e wo~ld rran9
f vr   bon llarro biop~y a d ending t    r sul ,    ould aiscuss
whether or not t.    1-intif f i a ~n 1 &t for ( ~y    OPOLETI
S30 S) it th an 1 1 du to chronic ki n y di
Exhioit "C"]


so. Th r   ~~ no bone m rrow biopsy test p rformed by ~ooe t
 v_ry or any other doctor on the plainti.ff.


51. Sinee the , th  lainttff ·    ub itte repeated iek call
requests an has filed several co plaint and grievanc_~
requesting e· cal ttention to . is ki ney dis ase .


52. When s ed about hi kidn y dis ase tr t nt. t~s pl intiff
was told by DOC officials t at Dialysis was the only treat ent
that h ~ould recieve .


53 . Docto... obert • Avery ha informed Saint Clair Medical
staff th t ( rythropoletin hots } would i prov& th plaintiff•s
kidney functi n and th t is over- 11 medical condition would
i prove.      e: Exhi it "C"J


54. Defendant aren ~ton is the Medical Director at S int Clair
Correctional Facility. Dr. Stone is an e ployee of xford Health
Source , Inc .

55. c fend nt    tone is responsible for medical car         generallyand
and for    rrangin9 for   pecialize   medical car      out ide the prison


56 . After several year , the plai1tiff has not reoi ved no
response fro tbe .-ledical Director , Doctor ar n Stone.


57 . After several years, pl aintitf •s condition eontinu s to
deteriorat o e lessly because his ~1 n y disease a" not treated
in cco d nee with edical protocol.




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Case 4:20-cv-01176-CLM-NAD          Document 45       Filed 03/30/21   Page 19 of 24



               PREVIOUS L ~·su I TS      y PL I . T'Il:'F



sq . Plaint ff  s filed no ot er l wsuits de lin with the                             a e
fact- involved in thi action or ot~~rwi e r 1 t~nq to ia
i!!lorison nt.




                       EXHAUST IO           I I T. TIVT:O
                                                  1
                                                                 MEO IE



                                         ACTS




59 • • laintiff has exhaus_ed 11 v 1~a~l ad inistrativ                            re edi s
r 9 rdinq t e att rs ~ scribed in thi lawsuit.



 I.NESSC':


60 . K hla     L.     t~lkor   - Daughter of tha pl intiff.

                 all     y

61 .. Defendant Jeff r on           unn, Co:ru::.L"sioncr of .lab ma          risen

63 . Defend nt L~on aolling- Warden of Saint Clair                        ri on

64. Inmate Charles Edward Carter


6 • On                                                                                 d
to   nd
Che cl    '?.: "'~r



66. oa g._v_r~l occ  ons rior to L--uvr7tVi (S~Q!o;J( , pl intiff
 efendant , Doctor Scott Bell , !ichael orow cz , ·nd ahi
Kassa ali , that e fe red or his Qersonal e 1th a      afety
due to    s rious idney oisea e, nd l l.n iff re uos      t
he recieve either a kidney t~an plant or the hot re ommended
by Doctor obert Avery.
Case 4:20-cv-01176-CLM-NAD            Document 45   Filed 03/30/21   Page 20 of 24



 67.
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 66. On    _v.r l        O"C   sion· ,   1 inttff nfar. d            d     ~nd    nt
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 19 ( "CaY'i        1 )•



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Case 4:20-cv-01176-CLM-NAD          Document 45             Filed 03/30/21                   Page 21 of 24




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Case 4:20-cv-01176-CLM-NAD    Document 45      Filed 03/30/21   Page 22 of 24



Relief Requested

  ~HFREFOP! , pl a l nt i f f r equasts thdt   t~e   court grant the
fellowing relief:

  • Issue d deci ar tory judg~ent stating t ha t:

1. Defendants actions in failing t 0rovi da medi cal care for
the pla inti ff viol a ted , and continue to violate, the pla int1ff's
rights under the Eight A endment to the United States
Const1tut1on.



B. Issue an injunction ordering defandants Corizon, LLC .                nd
Wexfcr 1 Raa lt h gource s , Inc ., or the ir gents to:

1. Immediately drrange for the plaintiff's eed for a ~idrey
transplal'lt, and his kid eys to be examined, by a q u lifi.~d kidney
specialist.

Immed iately arrange for t he plaintiff ' s need for kidney disease
treatment od/o"I; kidney transplant or other follow-1.19 !lledic;il
treatme ~t to be evaluated by a   edical practitioner with
e.pertis& in the treatQent and restoration of function of ki dneys



2 . Carry out without de lay the treatment dirl:":cted y Ooccor
Rubert Avery and octor afael • Lopez of Jackson Hospital.



c . Issue a n injunction ord ring defendant ~a ren Stone to ;



1. Start a process for the ooteotial release of the plaintiff ,
t .1rough the Alabama Medical Furlough ~ct . 14-14-1, Code of ;&,la .
1975 and home detention so that he can pay f or a kidney
transplant at the his own expense .



D. Awa.rd compensatory datnagas i n the fol lowing amounts:

1.   ;soo , ooo jointly and   ~•~rally   ag3ingt defendants, Be ll,
Kassa.rtal1, '3oro wicz , Ourn :i.nd Bo ll i.ng for the ohyical and emotioi'l
emotional injuries sustained as a resu~t of the ;>laintiff's
kida9y disease .


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Case 4:20-cv-01176-CLM-NAD                             Document 45             Filed 03/30/21     Page 23 of 24




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               Case 4:20-cv-01176-CLM-NAD                              Document 45            Filed 03/30/21                Page 24 of 24
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                                                                               COURT OF _ _ _ _ _ _ _ _ _ _ _ COUNTY
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 OR PLJ..INTIFF'5 /.., TTORl-IEY                                                                                     \/;'HOSE




 TO At~Y SHERIFF OR /:i.NY PERSON AUTHORIZED by the Al.Qj)~a Rules of Civil Procedure:

 D You are he.r.2by commanded to serve this summons and a ccpy of the complaint in this ac1ion
   upon the defendant.
 D Service by certified mail of this summons is initiated upon th.e written req·uest of
                                         pursuant to the Al a ba ma Rules of Ci vi I Procedure.


 Date                                                                   ----'-------~------~ By: ~----
                                                                        Clerk/Register ·         1




 0          Certified Mail is hereby requested.

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 RETUP.I·~ ON                  SERVICE:
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 D Return rece ipt of certified mail received in this office on                                ~----~--=--.,---~~---
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 0          I Ci:-rtify that I personally deli vi:: red a copy of the Summons eind Complaint to

                                                                              1n                                                                               County,
                 -~-~~--------~--~-                                                ----------~--~---~


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